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               EXHIBIT A
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                                                 DEPARTMENT OF HOMELAND SECURITY                      DOB :
                                                          NOTICE TO APPEAR
                                                                                                      Bvent No : LOU2008000029

 In removal proceedings under section 240 of the Immigration and Nationality Act:
  Subject ID :
                                                           PINS: 1087058335                  File No: 031 257 320
 In the Matter of:
 Respondent: ROBBRT SAVIO PANTON AXA: LEMON, BOB                                                                   currently residing at:


                              (Number, street, city, state and ZIP code)                              (Area code and phone number)

 D You are an arriving alien.
 D You are an alien present in the United States who has not been admitted or paroled.
 ~ You have been admitted to the United States, but are removable for the reasons stated below.

 The Department of Homeland Security alleges that you:

 1. You are not a citizen or national of the United States;

 2. You are a native of JAMAICA and a citizen of JAMAICA;

 3 . You were admitted to the United States at New York, New York on or about October
 28, 1970 as an immigrant.

 4. You were, on 05/25/1994, convicted in the Southern District of New York Federal
 Court at Manhattan, New York for the offense of Conspiracy to Possess with Intent to
 Distibute Heroin, a felony, in violation of 21 USC 812 & 841(a) (l)&(b) (1) (A).


 On the basis of the foregoing, it is charged that you are subject to removal from the United States pursuant to the following
 provision(s) of law:

      See Continuation Page Made a Part Hereof




 D This notice is being issued after an asylum officer has found that the respondent has demonstrated a credible fear of
       persecution or torture.

 D Section 235(b)(1) order was vacated pursuant to:                0 8CFR 208.30 0 8CFR 235.3(b)(5)(iv)


  536 S. CLARK ST SUITE 340 CHICAGO IL 6060                                                       IONS
                                       (Complete Address of Immigration            ing         , If any)
 on    August 24, 2020        at   9 • oo   AM           to show w         shoul              from the United States based on the
              (Date)                        (Time)

 charge(s) set forth above.                                                 R 0584



 Date: August 9, 2020




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                                                                 Notice to Respondent                                     Page 3 of 6
 Warning : Any statement you make may be           _ against you in removal proceedings.
 Alien Registration: This copy of the Notice to Appear served upon you is evidence of your alien registration while you are in removal proceedings.
 You are required to carry it with you at all times.
 Representation : If you so choose. you may be represented in this proceeding. at no expense to the Government, by an attorney or other individual
 authorized and qualified to represent persons before the Executive Office for Immigration Review, pursuant to 8 CFR 1003.16. Unless you so
 request, no hearing will be scheduled earlier than ten days from the date of this notice, to allow you sufficient time to secure counsel. A list of
 qualified attorneys and organizations who may be available to represent you at no cost will be provided with this notice.
 Conduct of the hearing: At the time of your hearing, you should bring with you any affidavits or other documents that you desire to have considered
 in connection w ith your case. If you wish to have the testimony of any witnesses considered. you should arrange to have such witnesses present at
 the hearing. At your hearing you will be given the opportunity to admit or deny any or all of the allegations in the Notice to Appear, including that you
 are inadmissible or removable. You will have an opportunity to present evidence on your own behalf, to examine any evidence presented by the
 Government, to object, on proper legal grounds, to the receipt of evidence and to cross examine any witnesses presented by the Government. At the
 conclusion of your hearing, you have a right to appeal an adverse decision by the immigration judge. You will be advised by the immigration judge
 before whom you appear of any relief from removal for which you may appear eligible including the privilege of voluntary departure. You will be given
 a reasonable opportunity to make any such application to the immigration judge.

 One-Year Asylum Application Deadline: If you believe you may be eligible for asylum, you must file a Form 1-589, Application for Asylum and for
 Withholding of Removal. The Form 1-589, Instructions, and information on where to file the Form can be found at www.uscis.goy/j-589. Failure to file
 the Form 1-589 within one year of arrival may bar you from eligibility to apply for asylum pursuant to section 208(a)(2)(B) of the Immigration and
 Nationality Act.
 Failure to appear: You are required to provide the Department of Homeland Security (OHS), in writing, with your full mailing address and telephone
 number. You must notify the Immigration Court and the OHS immediately by using Form EOIR-33 whenever you change your address or telephone
 number during the course of this proceeding. You will be provided with a copy of this form. Notices of hearing will be mailed to this address. If you do
 not submit Form EOIR-33 and do not otherwise provide an address at which you may be reached during proceedings, then the Government shall not
 be required to provide you with written notice of your hearing. If you fail to attend the hearing at the time and place designated on this notice, or any
 date and time later directed by the Immigration Court, a removal order may be made by the immigration judge in your absence, and you may be
 arrested and detained by the OHS.
 Mandatory Duty to Surrender for Removal: If you become subject to a final order of removal, you must surrender for removal to your local OHS
 office, listed on the internet at httg://www.ice.gov/contacUero, as directed by the DHS and required by statute and regulation. Immigration
 regulations at 8 CFR 1241 .1 define when the removal order becomes administratively final. If you are granted voluntary departure and fail to depart
 the United States as required, fail to post a bond in connection with voluntary departure, or fail to comply with any other condition or term in
 connection with voluntary departure, you must surrender for removal on the next business day thereafter. If you do not surrender for removal as
 required, you will be ineligible for all forms of discretionary relief for as long as you remain in the United States and for ten years after your departure
 or removal. This means you will be ineligible for asylum, cancellation of removal, voluntary departure, adjustment of status, change of nonimmigrant
 status, registry, and related waivers for this period. If you do not surrender for removal as required, you may also be criminally prosecuted under
 section 243 of the Immigration and Nationality Act.
 U.S. Citizenship Claims: If you believe you are a United States citizen. please advise the OHS by calling the ICE Law Enforcement Support Center
 toll free at (855) 448-6903.
 Sensitive locations: To the extent that an enforcement action leading to a removal proceeding was taken against Respondent at a location
 described in 8 U.S.C. § 1229(e)(1), such action complied with 8 U.S.C. § 1367.




                                                             Request for Prompt Hearing
 To expedite a determination in my case, I request this Notice to Appear be filed with the Executive Office for Immigration Review as soon as
 possible. I waive my right to a 10-day period prior to appearing before an immigration judge and request my hearing be scheduled.

 Before:
                                                                                                            (Signature of Respondent) (Sign in ink)

                                                                                                                            Date: _ _ _ _ _ _ _ __
                   (Signature and Title of Immigration Officer) (Sign in ink)

                                                                  Certificate of Service
  This Notice To Appear was served on the respondent by me on _ _ _ _ _ _ _ , in the following manner and in compliance with section
  239(a)(1) of the Act.

   [8] in person      D by certified mail, returned receipt# ______ requested                    D by regular mail
   ~ Attached is a credible fear worksheet.
  ,&II Attached is a list of organization and attorneys which provide free legal services.
  The alien was provided oral notice in the    English
                          re to appear as provi~ ed in section 240(b)(7) of the Act.

                                                                                _ __ F
                                                                                     _RAN
                                                                                                A
                                                                                        language of the time and place of his or her hearing and of the


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                                                                                                                                            __r _ __ _ _ __
                                                                                             4
                                                                                               (Signature and Title of officer) (Sign in ink)



OHS Form 1-862 (2/20)                                                                                                                            Page 2 of 4
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                                                                  Privacy Act Statement                                    Page 4 of 6
Authority:
The Department of Homeland Security through U.S. Immigration and Customs Enforcement (ICE), U.S Customs and Border Protection (CBP), and U.S.
Citizenship and Immigration Services (USCIS) are authorized to collect the information requested on this form pursuant to Sections 103,237,239,240,
and 290 of the Immigration and Nationality Act (INA), as amended (8 U.S.C. 1103, 1229, 1229a, and 1360), and the regulations issued pursuant thereto.

Purpose:
You are being asked to sign and date this Notice to Appear (NTA) as an acknowledgement of personal receipt of this notice. This notice, when filed with
the U.S. Department of Justice's (DOJ) Executive Office for Immigration Review (EOIR), initiates removal proceedings. The NTA contains information
regarding the nature of the proceedings against you, the legal authority under which proceedings are conducted, the acts or conduct alleged against you
to be in violation of law, the charges against you, and the statutory provisions alleged to have been violated. The NTA also includes information about
the conduct of the removal hearing, your right to representation at no expense to the government, the requirement to inform EOIR of any change in
address, the consequences for failing to appear, and that generally, if you wish to apply for asylum, you must do so within one year of your arrival in the
United States. If you choose to sign and date the NTA, that information will be used to confirm that you received it, and for recordkeeping.

Routine Uses:
For United States Citizens, Lawful Permanent Residents, or individuals whose records are covered by the Judicial Redress Act of 2015 (5 U.S.C. § 552a
note), your information may be disclosed in accordance with the Privacy Act of 1974, 5 U.S.C. § 552a(b), including pursuant to the routine uses
published in the following DHS systems of records notices (SORN): DHS/USCIS/ICE/CBP-001 Alien File, Index, and National File Tracking System of
Records, DHS/USCIS-007 Benefit Information System, DHS/ICE-011 Criminal Arrest Records and Immigration Enforcement Records (CARIER), and
DHS/ICE-003 General Counsel Electronic Management System (GEMS), and DHS/CBP-023 Border Patrol Enforcement Records (BPER). These
SORNs can be viewed at https://www.dhs goy/system-records-notices-sorns. When disclosed to the DOJ's EOIR for immigration proceedings, this
information that is maintained and used by DOJ is covered by the following DOJ SORN: EOIR-001, Records and Management Information System, or
any updated or successor SORN, which can be viewed at https·//www justice gov/opcl/doj-systems-records. Further, your information may be disclosed
pursuant to routine uses described in the abovementioned DHS SORNs or DOJ EOIR SORN to federal, state, local, tribal, territorial, and foreign law
enforcement agencies for enforcement, investigatory, litigation, or other similar purposes.

For all others, as appropriate under United States law and DHS policy, the information you provide may be shared internally within DHS, as well as with
federal, state, local, tribal, territorial, and foreign law enforcement; other government agencies; and other parties for enforcement, investigatory, litigation,
or other similar purposes.

Disclosure:
Providing your signature and the date of your signature is voluntary. There are no effects on you for not providing your signature and date; however,
removal proceedings may continue notwithstanding the failure or refusal to provide this information.




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U.S. Department of Homeland Security                           Continuation uge for Form ________ _

Alien 's Name                                    File Number     Date
PANTON, ROBERT SAVIO                    031 257 320                 08 / 09 / 2020
                                        Event No: LOU2 008000029
ON THE BASIS OF THE FOREGOING, IT IS CHARGED THAT YOU ARE SUBJECT TO REMOVAL FROM THE UNITED
STATES PURSUANT TO THE FOLLOWING PROVISION(S) OF LAW:


Section 237(a) (2) (A) {iii) of the Immigration and Nationality Act (Act), as amended , in that ,
at any time after admissio n , y o u have been convicted of an aggrav ated fel o ny as defined in
Section l0l{a) {43) {B) of the Act , an offense relating to the illicit trafficking in a
controlled substance , as described in section 102 of the Controlled Substances Act ,
including a drug trafficking crime, as defined in section 924(c) of Title 18 , United States
Code .

Section 237(a) (2) {A) (iii) of the Immigratio n a nd Natio nality Act (Act) , as amended , i n that ,
at any time after admission , you have been convicted of an aggravated fel o n y as defined in
section l0l{a) {43) {U) of the Act , a law relating to an attempt or conspiracy to c ommit an
offense described in section l0l(a) (43) of the Act.




                                                                                     SDDO


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                                                                                   __               Pages

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U.S. Department of Homeland Security                         Continuation   ge for Form ___ _ _ __ _

A lien's Name                                   File N umber            Date
PANTON, ROBERT SAVIO                            031 257 320                08/09/2020
                                                Event No: LOU2008000029
OTHER ALIASES KNOWN BY

LEMON , BOB




Signature                                                       Title
                                                                                     SDDO



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